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                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION


UNITED STATES OF AMERICA,                )       CASE NO. 1:09CR510
                                         )
             PLAINTIFF,                  )       JUDGE PETER C. ECONOMUS
                                         )
      V.                                 )
                                         )
VADYM CHURAKOV,                          )       MEMORANDUM OPINION
YURIY FEDKIV,                            )       AND ORDER
PIOTR VITVITZKY,                         )
VASYL YATSKIV,                           )
                                         )
             DEFENDANTS.                 )


       This matter is before the Court upon Magistrate Judge Kenneth S. McHargh’s

Reports and Recommendations that the Court accept Defendants Vadym Churakov,

Yuriy Fedkiv, Piotr Vitvitzky, and Vasyl Yatskiv’s (“the Defendants”) pleas of guilty

and enter findings of guilty against the Defendants. (Dkt. # 109, 113, 120, 125).

      On November 23, 2009, the Government filed an Indictment against the

Defendants. (Dkt. # 12). On March 2, 2010, this Court issued an order assigning

this case to Magistrate Judge McHargh for the purpose of arraignment and receiving

the guilty pleas of Defendants Vadym Churakov, Yuriy Fedkiv and Piotr Vitvitzky.

(Dkt. # 96). On March 24, 2010, this Court issued an order assigning this case to

Magistrate Judge McHargh for the purpose of arraignment and receiving the guilty

plea of Defendant Vasyl Yatskiv. (Dkt. # 121).
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       On March 8, 2010, a hearing was held in which Defendant Vadym Churakov

entered a plea of guilty to Count One of the Indictment, conspiracy to unlawfully

produce identification documents and false identification documents, in violation of

18 U.S.C. § 1028(f), 18 U.S.C. § 1028(b)(1)(A)(ii), and 18 U.S.C. § 1028(b)(1)(B).

       On March 9, 2010, a hearing was held in which Defendant Yuriy Fedkiv

entered a plea of guilty to Count One of the Indictment. On March 23, 2010, a

hearing was held in which Defendant Piotr Vitvitzky entered a plea of guilty to

Count One of the Indictment.

       On March 30, 2010, a hearing was held in which Defendant Vasyl Yatskiv

entered a plea of guilty to Count One of the Indictment and Count Twenty-Three of

the Indictment, conspiracy to defraud the United States, in violation of 18 U.S.C. §

371.

       Magistrate Judge McHargh received the Defendants’ guilty pleas and issued

Reports and Recommendations (“R&R’s”) recommending that this Court accept the

Defendants’ pleas and enter findings of guilty. (Dkt. # 109, 113, 120, 125).

       None of the parties objected to Magistrate Judge McHargh’s R&R’s in the

fourteen (14) days following the issuance of each R&R.

       On de novo review of the record, Magistrate Judge McHargh’s R&R’s are

adopted. (Dkt. # 109, 113, 120, 125). The Defendants were each found to be

competent to enter a plea. The Defendants understood their constitutional rights.

They are aware of the consequences of entering a plea. There is an adequate factual
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basis for the pleas. The Court finds that the pleas were entered knowingly,

intelligently, and voluntarily. The Defendants’ pleas of guilty are approved.

       Therefore, Defendants Vadym Churakov, Yuriy Fedkiv, and Piotr Vitvitzky

are adjudged guilty of violating 18 U.S.C. § 1028(f), 18 U.S.C. § 1028(b)(1)(A)(ii),

and 18 U.S.C. § 1028(b)(1)(B). Defendant Vasyl Yatskiv is adjudged guilty of

violating 18 U.S.C. § 1028(f), 18 U.S.C. § 1028(b)(1)(A)(ii), and 18 U.S.C. §

1028(b)(1)(B), and 18 U.S.C. § 371.

       Sentencing hearings will be held for Vasyl Yatskiv on June 24, 2010 at 10:00

a.m, for Piotr Vitvitzky on June 29, 2010 at 9:00 a.m., for Vadym Churakov on June

29, 2010 at 10:00 a.m., and for Yuriy Fedkiv on June 29, 2010 at 11:00 a.m.

       IT IS SO ORDERED.

                                   /s/ Peter C. Economus - April 20, 2010
                                   PETER C. ECONOMUS
                                   UNITED STATES DISTRICT JUDGE
